                      Case 2:15-cr-00131-TLN Document 70 Filed 08/26/15 Page 1 of 5
AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                  Page 1 of      3       Pages



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                           Eastern District of California
                                                                                                          FILED
                                                                                                                AUG 26 2015
                                                                                                      CLERK, U.S. DISTRICT COURT
                    United States of America                                                        EASTERN DISTRICT OF CALIFORNIA
                                                                         )                          BY      ~
                                   v.                                    )                                       DEPUTY CtERI\

                                                                         )        Case No. 2:15--cr-00131-TLN
                EDGAR EDUARDO HERRERA                                    )
                              Defondant
                                                                         )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

( 1)   The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 1413Sa.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.

       The defendant must appear at:              United States Courthouse, 501 "I" St, Sacramento, CA
                                                                                            Place
       Courtroom 2 before District Judge Troy L. Nunley

       on                                                           10/1/2015 9:30am
                                                                        Date and Time

       If blank, defendant will be notified of next appearance.

( 5)   The defendant must sign an Appearance Bond, if ordered.
                      Case
AO 1998 (Rev. 09/08- EDCA    2:15-cr-00131-TLN
                          [Fresno))                            Document
                                    Additional Conditions of Release (General) 70   Filed 08/26/15 Page 2 of 5
HERRERA, Edgar Eduardo
Dkt. No. 2:15cr0131-06
                                            ADDITIONAL CONDITIONS OF RELEASE
Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0     (6)      The defendant is placed in the custody of:

                   Name of person or organization                       Jasmine Pulido

          who agrees (a) to supervise the defendant in accordance with all conditions of release, (b)
          to use every effort to assure the appearance of the defendant at all scheduled court
          proceedings, and (c) to notify the court immediately in the event the defendant violates any
          conditions of release or disappears.


                   SIGNED: 1 ::zg:PcUSTODIAN
0     (7)      The defendant shall:
      0        (a) report on a regular basis to the following agency:
                   Pretrial Services and comply with their rules and regulations;
               (b) report in person to the Pretrial Services Agency on the first working day following
                   your release from custody;
               (c) reside at a location approved by the PSO, and not move or be absent from this
                   residence for more than 24 hrs. without prior approval of PSO; travel restricted to
                   the Eastern District of California, unless otherwise approved in advance by PSO;
               (d) report any contact with law enforcement to your PSO within 24 hours;
               (e) not associate or have any contact with: Any co-defendants, unless in the presence
                   of counsel or otherwise approved in advance by the PSO;
               (f) maintain or actively seek employment, and provide proof thereof to the PSO, upon
                   request;
      0        (g) refrain from excessive use of alcohol, or any use of a narcotic drug or other
                   controlled substance without a prescription by a licensed medical practitioner; and
                   you shall notify Pretrial Services immediately of any prescribed medication(s).
                   However, medical marijuana, prescribed or not, may not be used;
      0        (h) not obtain a passport or other traveling documents during the pendency of this
                   case;
      0        (i) execute a bond or an agreement to forfeit upon failing to appear or failure to abide
                   by any of the conditions of release, the following sum of money or designated
                   property: A full equity property bond secured by equity in property owned by
                   Mauricio Pulido.
                       Case 2:15-cr-00131-TLN Document 70 Filed 08/26/15 Page 3 of 5
AO 199C (Rev 09/08- EDCA [Fresno]) Advice of Penalties                                                              Page _3
                                                                                                                          ___ of      3   Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENAL TIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more- you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years- you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                   Acknowledgment of the Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.




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                                                         ----·--·-·-----··------~--------~ ---~-·
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                                                                                                       --------------·---
                                                                                                                              -"""'
                                                                                              Dejj dant's Signature




                                                Directions to the United States Marshal

( IZJ) The defendant is ORDERED released after processing.



                                                             ~ ~r.~c~r·s____..,f}-'-----=ature=-------
                                                                                         /

                                                            Jenniter L. Thurston, U.S. Magfstrate Judge
                                                                                              Printed name and title




                    DISTRIBUTION:      COURT      DEFENDANT         PRETRIAL SERVICE         U.S. ATTORNEY             U.S MARSHAL
                      Case 2:15-cr-00131-TLN Document 70 Filed 08/26/15 Page 4 of 5
AO 98 (Rev. 12111- EDCA [Fresno]) Appearance Bond



                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                 Eastern District of California
UNITED STATES OF AMERICA,
                                                                           )
                                                                           )
                                 v.
                                                                           )
                                                                                Case No.       2:15-cr-00131-TLN
                                                                           )
EDGAR EDUARDO HERRERA                                                      )
                             Defendant

                                           APPEARANCE AND COMPLIANCE BOND

                                                          Defendant's Agreement
I,   Edgar Eduardo Herrera                                       (defendant}, agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited ifl fail:
            ( 1Z1 ) to appear for court proceedings;
            ( 1Z1 ) if convicted, to surrender to serve a sentence that the court may impose; or
            ( 1Zl ) to comply with all conditions set forth in the Order Setting Conditions of Release.
                                                               Type of Bond
( 1Zl ) (1) This is a personal recognizance bond.
( D ) (2) This is an unsecured bond of$                                                       , with net worth of: $

( 1Z1 ) (3) This is a secured bond of$              Full value of equity              , secured by: real property

        (D) (a) $        ~~~~~~~~
                                                       , in cash deposited with the court.

        ( 1Zl ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan- and attach proof of
                 ownership and value):
                 Real property as follows: Property owned by Mauricio Pulido which is the primary residence of Edgar Eduardo
                 Herrera and Jasmine Pulido.
                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        ( D ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identifY the surety):




                                                    Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount ofthe bond, including
interest and costs.
                     Case 2:15-cr-00131-TLN Document 70 Filed 08/26/15 Page 5 of 5                                       Page2

AO 98 (Rev. 12/11- EDCA [Fresno]) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                         Declarations

Ownership of the Property/Net Worth. I, the defendant- and each surety- declare under penalty of petjury that:
         (1)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not reduce my net worth, sell any property, allow further claims to be made against any property,
                   or do anything to reduce the value while this Appearance and Compliance Bond is in effect

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.




I, the defendant- and each surety- declare under penalty of petjury that this information is true. (See 28 U.S.C.§ 1746.)


Date:       8/26/2015




                Surety/property owner-printed name                           Surety/property owner- signature and date




                Surety/property owner- printed name                          Surety/property owner- signature and date




                Surety/property owner-printed name                           Surety/property owner- signature and date



                                                                 CLERK OF COURT



                                                                                 Signature of Clerk or Deputy Clerk

Approved.

Date:      ~~2~/t'
